               Case 5:12-cr-50008-TLB Document 276                           Filed 11/28/12 Page 1 of 6 PageID #: 1442
 ~o 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1



                                           UNITED STATES DISTRICT COURT
                        WESTERN                                    District of                              ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                V.
              GREGORIO CARRANZA                                           Case Number:                     5: 12CR50008-010

                                                                          USMNumber:                       10902-010

                                                                          Terry D. Harper
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)           One (l) of the Information on June 27,2012
o pleaded nolo contendere to count{s)
   which was accepted by the court.
o was found guilty on count{s)
   after a plea ofnot guilty.

The defendant is adjudicated gUilty of these offenses:

Title & Section                      Nature of Offense                                                     Offense Ended

 21 U.S.C. § 84l{a)(l)               Distribution of Methamphetamine                                          01119/2012




       The defendant is sentenced as provided in pages 2 through          _...:6:........_ of this judgment, with the court considering the
guidelines as non-binding and advisory only.

o The defendant has been found not guilty on count(s)
X Count One (l) and Forfeiture Allegation of the Indictment are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days ofany change ofname, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notifY the court and United States attorney of material changes in econOIIDC circumstances.

                                                                         November 28,2012
                                                                          Date of Imposition of Judgment


                                                                         lSI Jimm Larrv Hendren
                                                                         Signature of Judge




                                                                         Honorable Jimm Larry Hendren, United States District Judge
                                                                         Name and Title of Judge


                                                                         November 28,2012
                                                                         Date
                  Case 5:12-cr-50008-TLB Document 276                        Filed 11/28/12 Page 2 of 6 PageID #: 1443
AO 245B       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                      Judgment - Page _.=.2_ of   6
 DEFENDANT:                      GREGORIO CARRANZA
 CASE NUMBER:                    5:12CR50008-010


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total tenn of:     forty-eight (48) months




  o       The court makes the following recommendations to the Bureau of Prisons:




  X       The defendant is remanded to the custody of the United States Marshal.

  o       The defendant shall surrender to the United States Marshal for this district:
          o     at    _________ 0 a.m.                          o p.m.       on
          o     as notified by the United States Marshal.

  o       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o     before 2 p.m. on
          o     as notified by the United States Marshal.
          o     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




       Defendant delivered on                                                             to
a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                            By ________~~~~~~~~~~~------
                                                                                               DEPUTY UNITED STATES MARSHAL
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                   06/05) Judgment in a Criminal Case
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             Sheet 3 - Supervised Release
                                                                                                           Judgment-Page __
                                                                                                                          3_        of         6
DEFENDANT:                   GREGORIO CARRANZA
CASE NUMBER:                 5: 12CR50008-0 10
                                                         SUPERVISED RELEASE
     Defendant is placed on supervised release for a term of:    three (3) years              which term shall commence immediately upon his
release from imprisonment, and which shall be served under the following conditions:

I. Accordingly, within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the probation
office in the district to which the defendant is released.

2. The defendant shall not commit another federal, state or local crime; the defendant shall be prohibited from possessing a fIrearm or any
other dangerous device; and the defendant shall not use, possess, or have anything at all to do with any controlled substance.

3. The defendant shall be required to comply with the mandatory drug testing provisions of 18 U.S.C. § 3583(d).

4. The defendant shall comply with the DNA collection provisions of 18 U.S.C. § 3583(d).

5. If this judgment imposes a fIne or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

6. The defendant shall comply with the Standard Conditions of Supervised Release as recommended by the United States Sentencing
Commission and as set out below on this page of the judgment, as well as any additional conditions on the attached page.



                                        STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fIrst five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled sulistances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engag,ed in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do sooy the prooatlon officer;
 10)      the defendant shall I!ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      the defendant shall as directed by the probation officer - notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifIcations and to confIrm
          the defendant's compliance with such notifIcation requirement.
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             Sheet 3C - Supervised Release
                                                                                     Judgment-Page _4_ of             6
 DEFENDANT:                  GREGORIO CARRANZA
 CASE NUMBER:                5:12CR50008-010

                                 SPECIAL CONDITIONS OF SUPERVISION

1.         The defendant shall submitto inpatient or outpatient drug abuse evaluation, counseling, testing, and/or treatment
           as deemed necessary and directed by the U.S. Probation Officer; and,

2.         The defendant shall submit his person, residence, place of employment, and vehicle to a search conducted by
           the U.S. Probation Officer at a reasonable time and in a reasonable manner based on a reasonable suspicion of
           evidence of any violation of conditions of supervised release might be thereby disclosed.
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                 06/05) Judgment in a Criminal Case   Document 276             Filed 11/28/12 Page 5 of 6 PageID #: 1446
           Sheet 5 Criminal Monetary Penalties
                                                                                                      Judgment   Page ____5"--_ of      6
DEFENDANT:                       GREGORIO CARRANZA
CASE NUMBER:                     5: 12CRS0008-0 10
                                            CRIMINAL MONETARY PENAL TIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                        Fine                               Restitution
TOTALS            $   100.00                                          $ 10,000.00                        $ - 0­


o The detennination of restitution is deferred until ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such detennination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned p'a~ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss·                         Restitution Ordered                   Priority or Percentage




                                   $ _ _ _ _ _ _--'0"­
TOTALS
                                                                           $-------~o-

o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All ofthe payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court detennined that the defendant does not have the ability to pay interest and it is ordered that:
     X the interest requirement is waived for the            X fine     0 restitution.
     o the interest requirement for the         0     fine    0 restitution is modified as follows:


'" Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1990.
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           Sheet 6 - Schedule of Payments
                                                                                                        Judgment -   Page _ _
                                                                                                                            6 _ of         6
DEFENDANT:                 GREGORIO CARRANZA
CASE NUMBER:               5: 12CR50008-010

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X    Lump sum payment o£$          10, lOO.OO         due immediately, balance due

           o     not later than                                 , or
           X     in accordance         o C,       0 D,      0     E, or     X F below; or
B     0    Payment to begin immediately (may be combined with             0 C,      o D, or      0 F below); or
c     0    Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                       over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                     over a period of
          _ _--:-__ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           tenn of supervision; or

E     0    Payment during the tenn of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of imprisonment at a rate of not less
           than $25.00 quarterly, or 10% of the defendant's quarterly earnings, wliichever is greater. After imprisonment, any unpaid financial
           penalty shall become a special condition ofsupervised release and may be paid in monthly installments of$100.00 or 10% ofthe
           i:lefendant's net monthly household income, whichever is greater, with the entire balance to be paid in full one month prior to the end
           ofthe 3-year period of supervised release.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monet~ penalties is due during
imprisonment. All crunmal monetary penalties, except those payments made througJi the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Pa~ents shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
